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                UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF COLORADO
                                Minutes of Proceeding/Minute Order

Date: October 24, 2023                              Honorable Thomas B. McNamara, Presiding
                                                           Katherine M. Swan, Law Clerk

In re:
                                                       Bankruptcy Case No. 23-11420 TBM
Luke Van Walch and                                     Chapter 7
Janine Retz Walch,
Debtors.


Floorplan Xpress, LLC-OK
Movant,

v.

Luke Van Walch and
Janine Retz Walch,
Respondents.
                 Appearances

Trustee                                             Counsel
Debtors                                             Counsel     Stephen Berken
Creditor                                            Counsel     David Rich

Proceedings: Preliminary Hearing on the “Motion for Relief from Automatic Stay” (Docket No. 62,
the “Motion for Relief from Stay”) filed by Floorplan Express LLC-OK (the “Movant”) on October 5,
2023, and the Response (Docket No. 68, the “Response”) thereto filed by Luke Van Walch and
Janine Retz Walch (together, the “Debtors”) on October 17, 2023.

ց Counsel for the Movant and for the Debtor entered their appearances on the record.

ց The Court noted that there remained pending in a related adversary proceeding, Floorplan
Xpress, LLC-OK v. Walch (In re Walch), Adv. Pro. 23-01192 (the “Adversary Proceeding”), a “Motion
to Abstain and Hold Adversary Proceeding in Abeyance” (Docket No. 8, the “Motion to Abstain”). In
the Motion to Abstain, the Movant requested that the Court hold the Adversary Proceeding in
abeyance while the case styled Floorplan Xpress, LLC-OK v. Green Eyed Motors LLC, Luke Van
Walch, Janine R. Walch, and Flatirons Bank, Case No. 2023CV3016 (Weld Cty. Colo. Dist. Ct.) (the
“Weld County Action”) proceeded in state court and that the Court abstain from hearing the
nondischargeability claims in the Adversary Proceeding. The Debtors opposed the Motion to
Abstain. (Docket No. 14.)

ց Counsel for the Movant and for the Debtors reported that they had resolved the issues in both the
Motion for Relief from Stay and the Motion to Abstain. They agreed that the Court should (1) grant
the Motion for Relief from Stay to permit the Weld County Action to proceed in state court, (2) hold
the Adversary Proceeding in abeyance; and (3) deny the portion of the Motion to Abstain that related
specifically to abstention.

ց The Court agreed to enter orders as proposed by the parties. Separate orders will enter in this
main bankruptcy case and in the Adversary Proceeding.
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 Orders:


 ց The Motion for Relief from Stay is granted. A separate order will enter in this main bankruptcy
 case. A separate order holding the Adversary Proceeding in abeyance and denying the request for
 abstention will enter in the Adversary Proceeding.


Date: October 24, 2023
                                                       FOR THE COURT:
IT IS SO ORDERED:                                      Kenneth S. Gardner, Clerk of Bankruptcy Court


___________________________________________
Honorable Thomas B. McNamara,                          By: ___________________________________
United States Bankruptcy Judge                               Katherine M. Swan, Law Clerk
